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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ILLINOIS
                                               ******
 UNITED STATES OF AMERICA,                              )               CRIMINAL N0: 07-40029
                                                        )
                        Plaintiff,                      )               MINUTES OF COURT
                                                        )
 vs.                                                    )               DATE: 6/25/2007
                                                        )
 TYLER JAMES,                                           )
                                                        )
                                                        )
 Defendant(s).                                          )

 PRESENT: HONORABLE J. PHIL GILBERT, DISTRICT JUDGE
 DEPUTY CLERK: K. Jane Reynolds                         COURT REPORTER: N/A
 COUNSEL FOR PLAINTIFF(S): N/A
 COUNSEL FOR DEFENDANT(S): N/A
 MINUTE ORDER IN CHAMBERS: ( X)
 PROCEEDINGS:
 TIME:
  This matter is before the court for purposes of case management and calendar control.
  It is hereby ORDERED that this matter is set for change of plea on 6/28/2007 at 9:30 a.m. in Benton, IL.




                                                        NORBERT G. JAWORSKI, CLERK

                                                        By: s/ K. Jane Reynolds
                                                        Deputy Clerk
